         Case 8:23-cv-00889-TDC Document 28-7 Filed 11/06/23 Page 1 of 5




                              EXHIBIT B




11240624.1
                  Case 8:23-cv-00889-TDC
                           Wyoming Secretary Document
                                             of State 28-7 Filed 11/06/23    Page
                                                                     For Office Use 2Only
                                                                                      of 5
                           Herschler Bldg East, Ste.100 & 101    WY Secretary of State
                                                                 FILED: Feb 8 2022 11 :06AM
                              Cheyenne, WY 82002-0020            Original ID: 2022-001078733
Secretary of State                Ph. 307-777-7311



                                         Limited Liability Company
                                           Articles of Organization

I.       The name of the limited liability company is:
         OtterSec LLC


II.      The name and physical address of the registered agent of the limited liability company is:
         Registered Agents Inc.
         30 N Gould St Ste R
         Sheridan, WY 82801


Ill.     The mailing address of the limited liability company is:
         30 N Gould St
         Ste R
         Sheridan, WY 82801

IV.      The principal office address of the limited liability company is:
         30 N Gould St
         Ste R
         Sheridan, WY 82801


V.       The organizer of the limited liability company is:
         Registered Agents Inc.
         30 N Gould St Ste R, Sheridan, WY 82801




Signature:             Riley Park                                               Date: 02/08/2022

Print Name:            Riley Park

Title:                 Authorized individual

Email:                 reports@registeredagentsinc.com

Daytime Phone#:        (307) 200-2803




                                                                                                      Page 1 of 4
                 Case 8:23-cv-00889-TDC Document 28-7 Filed 11/06/23 Page 3 ofSecretary
                                                                               5


~
                                                                     Wyoming            of State
                                                                                        Herschler Bldg East, Ste.100 & 101

                                                                                                Cheyenne, WY 82002-0020
Secretary of State                                                                                      Ph. 307-777-7311



 0 I am the person whose signature appears on the filing; that I am authorized to file these documents on behalf of the
     business entity to which they pertain; and that the information I am submitting is true and correct to the best of my
     knowledge.
 0 I am filing in accordance with the provisions of the Wyoming Limited Liability Company Act, (W.S. 17-29-101 through
     17-29-1105) and Registered Offices and Agents Act (W.S. 17-28-101 through 17-28-111 ).
 0 I understand that the information submitted electronically by me will be used to generate Articles of Organization that
     will be filed with the Wyoming Secretary of State.
 0 I intend and agree that the electronic submission of the information set forth herein constitutes my signature for this
     filing.
 0   I have conducted the appropriate name searches to ensure compliance with W.S. 17-16-401.

0    I consent on behalf of the business entity to accept electronic service of process at the email address provided with
     Article IV, Principal Office Address, under the circumstances specified in W.S. 17-28-104(e).

              Notice Regarding False Filings: Filing a false document could result in criminal penalty and
                                         prosecution pursuant to W.S. 6-5-308.


         W.S. 6-5-308. Penalty for filing false document.

         (a) A person commits a felony punishable by imprisonment for not more than two (2) years, a fine
         of not more than two thousand dollars ($2,000.00), or both, if he files with the secretary of state
         and willfully or knowingly:

         (i) Falsifies, conceals or covers up by any trick, scheme or device a material fact;

         (ii) Makes any materially false, fictitious or fraudulent statement or representation; or

         (iii) Makes or uses any false writing or document knowing the same to contain any materially
         false, fictitious or fraudulent statement or entry.

 [Z] I acknowledge having read W.S. 6-5-308.

 Filer is:    D An Individual          0 An Organization
 The Wyoming Secretary of State requires a natural person to sign on behalf of a business entity acting as an
 incorporator, organizer, or partner. The following individual is signing on behalf of all Organizers, lncorporators, or
 Partners.

Filer Information:
By submitting this form I agree and accept this electronic filing as legal submission of my Articles of
Organization.

Signature:            Riley Park                                                    Date: 02/08/2022

Print Name:           Riley Park
Title:                Authorized individual
Email:                reports@registeredagentsinc.com
Daytime Phone #:      (307) 200-2803

                                                                                                                     Page 2 of 4
                Case 8:23-cv-00889-TDC Document 28-7 Filed 11/06/23 Page 4 ofSecretary
                                                                    Wyoming   5        of State
                                                                     Herschler Bldg East, Ste.100 & 101

                                                                            Cheyenne, WY 82002-0020
 Secretary of State                                                                 Ph. 307-777-7311




                          Consent to Appointment by Registered Agent


      Registered Agents Inc., whose registered office is located at 30 N Gould St Ste R,
Sheridan, WY 82801, voluntarily consented to serve as the registered agent for OtterSec LLC and
has certified they are in compliance with the requirements of W.S. 17-28-101 through W.S. 17-28-
111.

       I have obtained a signed and dated statement by the registered agent in which they
voluntarily consent to appointment for this entity.



Signature:            Riley Park                                  Date: 02/08/2022

Print Name:           Riley Park

Title:                Authorized individual

Email:                reports@registeredagentsinc.com

Daytime Phone#:       (307) 200-2803




                                                                                               Page 3 of 4
              Case 8:23-cv-00889-TDC Document 28-7 Filed 11/06/23 Page 5 of 5

                                        STATE OF WYOMING
                                   Office of the Secretary of State


        I, EDWARD A. BUCHANAN, Secretary of State of the State of Wyoming, do hereby certify
that the filing requirements for the issuance of this certificate have been fulfilled.




                                    CERTIFICATE OF ORGANIZATION

                                               OtterSec LLC


        I have affixed hereto the Great Seal of the State of Wyoming and duly executed this official
certificate at Cheyenne, Wyoming on this 8th day of February, 2022 at 11 :06 AM.




                                       Remainder intentionally left blank.




                                                     ~ ' ; State
                                                           {.~
                                                                   Sec re ta ry

                                                                      Filed Online By:

                                                                        Riley Park
          Filed Date: 02/08/2022
                                                                       on 02/08/2022




                                                                                                Page 4 of 4
